 Case 3:18-cv-02862-M-BH Document 29 Filed 07/08/19                        Page 1 of 2 PageID 248

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

BERTRUM JEAN, et al.,                              )
                                                   )
                                  Plaintiffs,      )      Case No. 3:18-CV-2862-m
                                                   )
        vs.                                        )      Chief Judge Barbara M. G. Lynn
                                                   )
CITY OF DALLAS, et al.,                            )      Mag. Judge Irma Carrillo Ramirez
                                                   )
                                  Defendants.      )

                           NOTICE OF APPEARANCE OF COUNSEL

TO THE HONORABLE COURT:

        Lindsay Wilson Gowin of the Dallas City Attorney’s Office enters her appearance as

counsel of record for Defendant City of Dallas in the above-styled cause of action, and requests

that the Clerk of the Court enter her appearance on the civil docket for this matter. Ms. Gowin is

authorized to receive service of all pleadings, notices, orders, and other papers filed in this lawsuit

through the Court’s electronic case filing system. Ms. Gowin’s contact information is as follows:

        Lindsay Wilson Gowin
        Senior Assistant City Attorney
        7BN Dallas City Hall
        1500 Marilla Street
        Dallas, Texas 75201-6318
        Telephone: (214) 671-8225
        Facsimile: (214) 670-0622
        Email:      lindsay.gowin@dallascityhall.com


                                                   Respectfully submitted,

                                                   CITY ATTORNEY OF THE CITY OF DALLAS

                                                   Christopher J. Caso
                                                   Interim City Attorney




Notice of Appearance of Counsel
Jean v. City of Dallas, Civil Action No. 3:18-CV-2862-M                                          Page 1
 Case 3:18-cv-02862-M-BH Document 29 Filed 07/08/19                        Page 2 of 2 PageID 249

                                                   /s/ Lindsay Wilson Gowin
                                                   Senior Assistant City Attorney
                                                   Texas State Bar No. 24111401
                                                   lindsay.gowin@dallascityhall.com

                                                   7DN Dallas City Hall
                                                   1500 Marilla Street
                                                   Dallas, Texas 75201
                                                   Telephone: 214-670-3519
                                                   Facsimile: 214-670-0622

                                                   Attorneys for Defendant City of Dallas

                                     CERTIFICATE OF SERVICE

        I certify that on July 8, 2019, I electronically filed the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing system of
the court. The electronic case filing system sent a “Notice of Electronic Filing” to the following
attorneys of record who have consented in writing to accept this Notice as service of this document by
electronic means:

Daryl Washington                                   Benjamin Crump
325 N. Saint Paul St. Suite 3950                   122 S. Calhoun Street
Dallas, TX 75201                                   Tallahassee, FL 32301-1518

Stacy Merritt, Sr.                                 Mark Goldstucker
1910 Pacific Ave., Suite 11500                     300 N. Coit Road, Suite 1125
Dallas, TX 75201                                   Richardson, TX 75080


                                                   /s/ Lindsay Wilson Gowin
                                                   Senior Assistant City Attorney




Notice of Appearance of Counsel
Jean v. City of Dallas, Civil Action No. 3:18-CV-2862-M                                           Page 2
